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AO450 (NVD Rev. 2/18) Judgment in a Civil Case




                                  UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEVADA


JOHN MILLER,
                                                       JUDGMENT IN A CIVIL CASE
                             Plaintiff,
          v.                                           Case Number: 3:17-cv-00121-MMD-WGC

UNITED STATES OF AMERICA,

                             Defendants.


          Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and
          the jury has rendered its verdict.

          Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
          or heard and a decision has been rendered.

 X        Decision by Court. This action came for consideration before the Court. The issues have been
          considered and a decision has been rendered.

       IT IS ORDERED AND ADJUDGED that Defendant’s motion to dismiss (ECF No. 39) is granted.
Because the Court lacks subject matter jurisdiction over it, Plaintiff’s case is dismissed in its entirety without
prejudice.

       IT IS FURTHER ORDERED AND ADJUDGED that Plaintiff’s motion for leave to file a
proposed third amended Complaint (ECF No. 57) is denied

          IT IS FURTHER ORDERED AND ADJUDGED that judgment is hereby entered and this case is
closed.

          Date: November 27, 2018                             DEBRA K. KEMPI
                                                              Clerk



                                                              /s/K. Walker
                                                              Deputy Clerk
